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     Joseph H. Harrington
 1
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 2   Eastern District of Washington
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 4   Assistant United States Attorney
     Post Office Box 1494
 5
     Spokane, WA 99210-1494
 6   Telephone: (509) 353-2767
 7                          UNITED STATES DISTRICT COURT
 8                         EASTERN DISTRICT OF WASHINGTON
 9   UNITED STATES OF AMERICA,
10                                                      2:11-CR-00057-RHW-001
                               Plaintiff,
11                                                      United States’ Notice of
                     vs.                                Termination of Writ of
12
     J. SCOTT VRIELING,                                 Execution
13

14                             Defendant,
15

16         Plaintiff, United States of America, by and through Joseph H. Harrington,
17 United States Attorney for the Eastern District of Washington, and Brian M. Donovan,

18
     Assistant United States Attorney for the Eastern District of Washington, respectfully
19

20 notifies the Court and the Defendant pursuant to 28 U.S.C. § 3203(d)(3)(C)(ii) of the

21 sale of 6678 Road 5 NE, Moses Lake, WA 98837, Grant County parcel number 17-

22
     0177-002, on October 9, 2018, in accordance the Writ of Execution (ECF No. 284)
23

24 and Order in Aid of Writ of Execution (ECF No. 291).

25
           The sale of 6678 Road 5 NE, Moses Lake, WA 98837, Grant County parcel
26
     number 17-0177-002 resulted in payment to the Clerk of Court of $297,925.79, on
27

28
     United States’ Notice of Termination of Writ of Execution - 1
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     October 15, 2018. See Decl. of Therese Roberson, ¶ 2.
 1

 2         In lieu of execution on the other two properties subject to the Writ of Execution
 3
     (6635 Winesap Rd., NE, Moses Lake, WA 98837 and 110 E. Broadway, Moses Lake,
 4
     WA 98837), the Government and Defendant Vrieling entered into an agreement to
 5

 6 allow the Government to market and sell real property owned by Defendant Vrieling

 7
     located at 4999 NE Westshore Dr., Moses Lake, WA 98837. By agreement of the
 8
     parties, $56,238.34 of the sale proceeds from the sale of 4999 NE Westshore Dr.,
 9

10 Moses Lake, WA 98837 were applied to outstanding property taxes owed for ten (10)

11
     other properties owned by Defendant Vrieling in Grant County and Spokane County.
12

13
     The sale of property at 4999 NE Westshore Dr., Moses Lake, WA 98837, on October

14 9, 2018, resulted in payment to the Clerk of Court of $100,000.00 on October 15,

15
     2018. See Decl. of Therese Roberson, ¶ 3.
16

17         The foregoing payments totaling $397,925.79 have been applied to Defendant

18 Vrieling’s outstanding criminal judgment debt, resulting in payment in full of said

19
     debt. See Declaration of Therese Roberson, ¶¶ 3-5.
20

21         In addition to the foregoing restitution and fine payments, the sales of 6678

22 Road 5 NE and 4999 Westshore Drive NE, after payment of closing costs, fees,

23
     assessments, and property taxes, resulted in an additional payment of $346,898.95, to
24

25 the Internal Revenue Service to be applied to Defendant’s outstanding civil tax debts.

26         The United States therefore respectfully gives notice of termination of Writ of
27
     Execution with regard to 6635 Winesap Rd., NE, Moses Lake, WA 98837, Grant
28
     United States’ Notice of Termination of Writ of Execution - 2
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     County parcel number 31-1307-000; and 110 E. Broadway, Moses Lake, WA 98837,
 1

 2 Grant County parcel number 9-0011-000.

 3
           DATED: October 18, 2018
 4

 5
                                             JOSEPH H. HARRINGTON
 6                                           United States Attorney
 7
                                             s/Brian M. Donovan
 8                                           Brian M. Donovan
                                             Assistant United States Attorney
 9

10                                CERTIFICATE OF SERVICE
11
           I hereby certify that on October 18, 2018, I electronically filed the foregoing
12

13
     with the Clerk of the Court using the CM/ECF System which will send notification of

14 such filing to the following, and/or I hereby certify that I have emailed the foregoing

15
     to the following listed recipients not listed in ECF:
16

17 J. Scott Vrieling
   c/o Steve Talbot, Attorney
18 10000 NE 7th Ave, Ste 100

19 Vancouver, WA 98685
   stalbot@ifiber.tv
20

21
                                             s/Brian M. Donovan
22                                           Brian M. Donovan
                                             Assistant United States Attorney
23

24

25

26

27

28
     United States’ Notice of Termination of Writ of Execution - 3
